 EDOK Criminal Complaint   (Revised   6113)




                                  United States District Court
                                              EASTERN DISTRICT OF OKLAHOMA
 UNITED STATES OF AMERICA,
                                                                          CRIMINAL COMPLAINT
                                               Plaintiff,

 v.                                                                                           20-MJ-113-SPS
                                                                          Case No.
 PATRICK DWAYNE MURPHY,

                                               Defendant.



       I, Daniel M. Brewer, the undersigned complainant, state that the following is true to the best of
 my knowledge and belief.

         On or about August 28, 1999, in the Eastern District of Oklahoma, in Indian Country, PATRICK
DWA YNE MURPHY, committed the crime of Murder in the First Degree in Indian Country, in
violation of Title 18, United States Code, Sections 1111(a), 1151, and 1153

       I further state that I am a Special Agent with Federal Bureau of Investigation, and that this
complaint is based on the following facts:

        (See attached Affidavit of Daniel M. Brewer, which is attached hereto and made a part hereof by
reference.)

                           Continued on the attached sheet.




                                                              Special Agent
                                                              Federal Bureau of Investigation


Sworn to before me and subscribed in my presence at: MUSKOGEE, OKLAHOMA

Date: July~, 2020

STEVEN P. SHREDER
UNITED STATES MAGISTRATE JUDGE
Name and Title of Judicial Officer                            Signature of Judicial Officer
                                           AFFIDAVIT

       1.      I, Daniel M. Brewer, am a Special Agent (SA) of the Federal Bureau of

Investigation (FBI). I am an investigative officer, or law enforcement officer, of the United States

of America within the meaning of Title 18, United States Code, Section 2510(7), that is an officer

of the United States who is empowered by law to conduct investigation of, and make arrests for,

offenses enumerated in Title 18. In the course of my duties as special agent, I have investigated

criminal violations related to Indian Country crimes, as explained in 18, United States Code,

Section 1151 and as it pertains to the Major Crimes Act (MCA). Further, I have investigated crimes

committed on military installations, violent crimes against children, complex white-collar crimes,

civil rights, public corruption, and crimes against the National Security of the United States of

America, which include investigating terrorism and counterintelligence.

       2.      I hold the following academic degrees: Bachelor of Arts in Political Science,

University of Washington; Bachelor of Arts in Spanish, University of Washington; and Master's

Degree, United States Air Force Air Command and Staff College, United States Department of

Defense.

       3.     As your affiant, I have reviewed the following documentation: investigative reports

from the year of 1999 of Patrick Dwayne MURPHY, conducted by the Oklahoma State Bureau of

Investigation. Further, as your affiant I have reviewed case number D-2000-705,           Court of

Criminal Appeals of Oklahoma Patrick Dwayne Murphy, Appellant, v. The STATE of Oklahoma,

Appellee, from May 22,2002. Also, as your affiant I have reviewed case number 07-7068 & 15-

7041, PATRICK DWAYNE MURPHY, Petitioner - Appellant, v. TERRY ROYAL, Warden,

Oklahoma State Penitentiary, Respondent - Appellee from August 8, 2017. Last, as your affiant I
have reviewed the United States Supreme Court's Opinion re McGirt v. Oklahoma issued on July,

9,2020.

          4.      As your affiant, and having reviewed the aforementioned documentation, I have

compiled a factual history below, which is predicated upon the investigative findings and Court

rulings and opinions.

          5.      Therefore, I, Daniel M. Brewer, the undersigned      complainant,   state that the

following is true to the best of my knowledge and belief.

          6.      VENUE: the facts and circumstances alleged in this affidavit occurred within the

Eastern District of Oklahoma. More specifically, the facts and circumstances occurred within the

special maritime and territorial jurisdiction of the United States and in Indian Country, to wit the

Muscogee (Creek) Reservation.

          7.      DEFENDANT:      the defendant is Patrick Dwayne MURPHY (MURPHY).              For

purposes of federal jurisdiction, MURPHY is an Indian and is an enrolled member of the Muscogee

(Creek) Nation.

          8.    VICTIM: the victim is George Jacobs. For purposes of federal jurisdiction, George

Jacobs is an Indian and is an enrolled member of the Muscogee (Creek) Nation.

       9.       OFFENSE: On or about August 28, 1999, MURPHY, with malice aforethought and

premeditation, unlawfully killed George Jacobs. MURPHY did this within the Eastern District of

Oklahoma, within the special maritime and territorial jurisdiction of the United States and within

Indian Country-the      Muscogee (Creek) Reservation.

          10.   BACKGROUND: On or about August 26,1999, MURPHY had an argument with

his girlfriend, Patsy Jacobs. Patsy Jacobs was previously in a relationship with the victim George

Jacobs, and Patsy Jacobs and George Jacobs had at least one child together. During the argument,
MURPHY told Patsy he was going to kill George Jacobs. A few days later, on or about August

28, 1999, MURPHY and two other individuals, Kevin King and Billy Jack Long, were driving

along Vernon Road. At that same time, Mark Sumka was driving the opposite direction along

Vernon Road and George Jacobs was a passenger in the vehicle driven by Sumka. MURPHY and

Sumka slowed to talk to each other, and ultimately, MURPHY learned George Jacobs was in the

vehicle driven by Sumka. Sumka knew MURPHY did not like George Jacobs, so Sumka drove

off as MURPHY (or possibly Long or King) told Sumka to stop.             Sumka did not stop, and

MURPHY, Long, and King drove after Sumka and pulled in front of Sumka forcing Sumka to stop

the vehicle. After Sumka stopped his vehicle, MURPHY and King began beating George Jacobs.

MURPHY admitted to law enforcement officials to kicking George Jacobs in the "balls" and

"side." King admitted to law enforcement officials to hitting and/or kicking George Jacobs over

twenty times. After the beating, King stated to law enforcement officials that he flipped George

Jacobs over, and Long took down Jacobs' pants. MURPHY admitted to law enforcement officials

to cutting George Jacobs' penis with a knife. George Jacobs' throat and abdomen were also cut.

After the beating and cutting, MURPHY, Long, and King drove away from the scene and left

George Jacobs in a ditch on the side of Vernon Road, which is located near Vernon, Oklahoma,

within McIntosh County, Oklahoma, and situated in the Eastern District of Oklahoma.       When

MURPHY, Long, and King left, they took Sumka with them to a residence known to law

enforcement where MURPHY attempted to dispose of evidence by burning some clothes. After

the beating and cutting of Jacobs, MURPHY told Patsy Jacobs to the effect that he had killed

George Jacobs, that MURPHY had cut George Jacobs' "balls and dick off," and that if "the boys

done the job right, he's [Jacobs] dead."

       11.     As of the date of this affidavit, both King and Long are deceased.
        12.     MURDER: on or about August 29, 1999, George Jacobs died from his wounds.

According to the medical examiner's report, Jacobs suffered multiple contusions, a fractured nasal

bone, and fractured ribs. The medical examiner determined homicide as the manner of death, and

Jacobs died from "exsanguination due to multiple sharp and blunt force injuries ... [t]his includes

an incised wound of the anterior neck which involved the right jugular vein ... [a]lso there was

acute amputation of the external genitalia."

        13.     The facts presented in this affidavit are not a complete recitation of all of the facts

known to law enforcement, rather, the affidavit is solely offered to establish probable cause for the

crime presented in this affidavit.

        14.    Based on a review of those documents and based on my knowledge and experience

with violent crimes in Indian country, I, as your Affiant have probable cause to believe Patrick

Dwayne MURPHY has committed the offense of Murder in the First Degree in Indian country, in

violation of Title 18 United States Code, Sections 1111(a), 1151, and 1153.




                                                         Respectfully submitted,




                                                         DANIEL M. BREWER
                                                         Special Agent
                                                         Federal Bureau of Investigation

Subscribed and sworn to before me this 3o       day of   "J~l'1 ,2020.


                                                         STEVEN P. SHREDER
                                                         United States Magistrate Judge
